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                          UNITED STATES COURT OF APPEALS
                             FOR THE ELEVENTH CIRCUIT
                             ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                           56 Forsyth Street, N.W.
                                           Atlanta, Georgia 30303

David J. Smith                                                                      For rules and forms visit
Clerk of Court                                                                      www.ca11.uscourts.gov


                                          March 29, 2019

Clerk - Middle District of Florida
U.S. District Court
801 N FLORIDA AVE
TAMPA, FL 33602-3849

Appeal Number: 19-10461-GG
Case Style: Wade Gardner, et al v. William Mutz, et al
District Court Docket No: 8:18-cv-02843-VMC-JSS

The referenced appeal was dismissed on 03/14/2019.

Enclosed herewith is a copy of this court's order reinstating the appeal.

Appellees’ brief is due April 29, 2019.

Sincerely,

DAVID J. SMITH, Clerk of Court

Reply to: Joe Caruso, GG
Phone #: (404) 335-6177

                                                                       REINST-1 Appeal Reinstated
